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                   UNITED STATES DISTRICT COURT
                              FOR THE
                        DISTRICT OF VERMONT

JENNIFER A. CONNORS,               :
                                   :
          Plaintiff,               :
                                   :
          v.                       :         Case No. 2:10-cv-94
                                   :                  2:12-cv-51
DARTMOUTH HITCHCOCK MEDICAL CENTER,:
DARTMOUTH MEDICAL SCHOOL, MARY     :
HITCHCOCK MEMORIAL HOSPITAL,       :
DARTMOUTH-HITCHCOCK CLINIC and     :
TRUSTEES OF DARTMOUTH COLLEGE,     :
                                   :
          Defendants.              :
                                   :

                           OPINION and ORDER

     In this action arising from the dismissal of Plaintiff Dr.

Jennifer Connors from the Dartmouth Hitchcock Medical Center’s

(“DHMC”) graduate residency program in psychiatry, the Defendants

have moved for summary judgment on her remaining claims of

disability discrimination and illegal retaliation under the

Vermont Fair Employment Practices Act (“VFEPA”), and her claims

of breach of contract and breach of an implied covenant of good

faith and fair dealing.    The motion, ECF No. 122, is granted in

part and denied in part.     Summary judgment is granted on all

counts of both complaints with respect to Defendants Dartmouth

Medical School (“Medical School”), Dartmouth-Hitchcock Clinic

(“Clinic”) and Trustees of Dartmouth College (“Trustees”).             The

claims for noneconomic damages under VFEPA are dismissed.

Summary judgment is granted in part and denied in part with
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respect to the remaining claims against Defendants DHMC and Mary

Hitchcock Memorial Hospital (“MHMH”), as set forth below.

I.   Factual and Procedural Background

     This Court has previously issued Findings of Fact in

connection with two issues tried to the Court on February 3,

2012.     See Findings of Fact & Conclusions of Law, ECF No. 105.

The following material facts with respect to the pending motion

for summary judgment constitute the law of the case, or are

undisputed, or have been taken in the light most favorable to Dr.

Connors as the non-moving party.

     Dr. Connors graduated from medical school in 2003.              She

completed a pediatric residency at the University of Utah Medical

School in 2006.       In July 2005 Dr. Connors submitted an

“application for residency training in the Department of

Psychiatry at [DHMC]” to Dr. Ronald Green, at the time the

psychiatry residency program director.           DHMC is a non-profit

corporation organized under the laws of New Hampshire, with its

principal place of business in New Hampshire.1

     In response to her application, Dr. Green on behalf of DHMC

extended an offer to Dr. Connors to join the program “as a PGY2 2


      1
         Defendant MHMH is located in Lebanon, New Hampshire. Defendant
Clinic is a New Hampshire non-profit corporation with its principal place of
business in Lebanon, New Hampshire. Dartmouth College is a New Hampshire non-
profit institution located in Hanover, New Hampshire. Defendant Medical
School (renamed the Geisel School of Medicine at Dartmouth) is a trade name
registered in New Hampshire by Dartmouth College.
     2
          PGY stands for “post graduate year.”

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resident in psychiatry to begin on June 26, 2006.”         Green letter,

ECF No. 122, Ex. C.   Dr. Green advised Dr. Connors that her

“stipend as a PGY 2 resident will be $45,350.00.         Id.   Dr.

Connors accepted the offer in November 2005.

     In April 2006 Dr. Connors and Defendant MHMH, the teaching

hospital for DHMC, entered into a Resident/Fellow Agreement of

Appointment for graduate training as a psychiatry resident from

June 26, 2006, through June 25, 2007.       The expected duration of

her training was three years.

     According to her Second Amended Complaint (“SAC”) in docket

no. 2:10-cv-94-wks, at the time of her initial appointment Dr.

Connors advised DHMC that she has a learning disability,

Attention Deficit Hyperactivity Disorder (“ADHD”).         She requested

reasonable accommodation for her condition, and DHMC agreed to

provide reasonable accommodation.      SAC ¶¶ 17-18, ECF No. 50.

Specifically, Dr. Connors requested and received extra time for

testing, a quiet place to work and access to a psychiatrist.

     Dr. Connors entered DHMC’s residency program in psychiatry

in June 2006.   Early evaluations of her progress were generally

positive, although Dr. Green noted problems with completing

paperwork, conflicts with staff and chronic lateness, in all of

which he noted improvement or commitment to improvement.          Green

Memo. Oct. 16, 2006, Pl.’s Opp’n Memo. Ex. 14, ECF No. 129-15.

     In early 2007, Dr. Connors was assigned to an inpatient


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psychiatry rotation at the Veterans Affairs Medical Center

(“VAMC”) in White River Junction, Vermont, one of the psychiatry

residency program’s affiliated sites.       Dr. Connors avers that

Defendants failed to make reasonable accommodations for her

disability during that winter, among other things that her VAMC

supervisor ordered her not to leave the VAMC campus in order to

acquire medication or undergo any therapy.        As a result, she

states, her symptoms emerged, including difficulty organizing her

time and assignments, distractability, diminished listening

skills, difficulty with time management and difficulty starting

and prioritizing tasks.    Connors Aff., Pl.’s Opp’n Memo. Ex. 4,

ECF No. 129-5.

     Beginning in March 2007, Dr. Connors was placed on

administrative leave as a result of DHMC’s concerns regarding her

performance as a psychiatry resident.       She returned to the

program in September 2007, having agreed to a remediation plan

that included regular clinical supervision and a faculty mentor.

Dr. Connors was responsible for, among other things, being on

time, not being argumentative in supervision, following

documentation rules, performing physical examinations on patients

when required to do so, and not signing off on physical

examinations that she had not conducted.       DHMC Remediation Plan,

Pl.’s Opp’n Memo. Ex. 16, ECF No. 129-17.       She was accorded

release from clinical duties one afternoon per week to meet with


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her health care providers.     Id.

     Dr. Connors and MHMH entered into a second Resident/Fellow

Agreement of Appointment for her graduate training as a resident

in psychiatry at the PGY-2 level from September 17, 2007, to

January 6, 2008 with a stipend of $47,410.        Dr. Connors completed

her remedial program and her PGY-2 year successfully at another

DHMC affiliate, New Hampshire Hospital, in a “very structured and

highly supervised inpatient rotation”.       Green Letter Jan. 1,

2008, Mot. for Summ. J. Ex. R, ECF No. 122-19.        Nevertheless, Dr.

Green sought advice about not renewing her contract, feeling that

Dr. Connors had created enmity among the other residents and

believing that her difficulties were caused by irresponsibility,

not illness.   Green Email Nov. 20, 2007, Pl.’s Opp’n Memo. Ex.

18, ECF No. 129-19.

     Despite Dr. Green’s concerns, Dr. Connors and MHMH entered

into a Resident/Fellow Agreement of Appointment for her PGY-3

year from January 7, 2008 to January 6, 2009 with a stipend of

$50,070.   The 2008 Agreement states that Dr. Connors would be

notified in writing if “renewal of this Agreement for a

subsequent year of residency/fellowship will not be made.”             Feb.

3, 2012 Hearing, Defs.’ Ex. C.       All of her appointments stated

that reappointment would be “dependent upon satisfactory

evaluations and fulfillment of program and institutional

requirements.”   Id.; see also id., Defs.’ Ex. A, B.


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     For her PGY-3 year, Dr. Connors was again assigned to the

VAMC, and Dr. Green warned that should a “pattern of

irresponsible behavior” recur she would not be able to continue

her training.     Green Memo. Dec. 21, 2007, Pl.’s Opp’n Memo. Ex.

21, ECF No.22.      Dr. Connors avers that for four months in 2008

DHMC failed to reasonably accommodate her disability, in that

while at the VAMC she “endured random facilities, including use

of a common computer room with coffee machine for all staff to

use.”    Connors Aff., Pl.’s Opp’n Memo. Ex. 4.         She received her

own office at VAMC in May 2008.

     In March 2008 Dr. Connors was meeting the program’s clinical

and administrative expectations.          Green Evaluation Mar. 6, 2008,

Pl.’s Opp’n Memo. Ex. 28, ECF No. 129-29.          For example, during

the first half of 2008 Dr. Connors received average or above

average ratings in an evaluation of her psychopharmacology clinic

training.     Green Evaluation July 27, 2008, Pl.’s Opp’n Memo. Ex.

27, ECF No. 129-28.

     On November 20, 2008, Dr. Green and Dr. Watts, the associate

director of the psychiatry residency program, met with Dr.

Connors to discuss the concerns of several of her clinical

supervisors at VAMC about her behavior and judgment.            The

concerns included:      forgetting to call a social service agency to

report a child endangerment situation; misdiagnosing a patient

and failing to discuss the diagnosis during supervision;


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disputing her supervisors’ recommendations; lack of receptiveness

to feedback; lateness submitting clinical notes; and unusual

patient interactions, including an incident with a patient in

which Dr. Connors began playing cards during a therapy session.

VAMC faculty were concerned that emotional or mental illness

might be causing her erratic behavior, and Dr. Connors agreed to

undergo a fitness for duty evaluation conducted by DHMC’s

Employee Health Division.     The evaluation revealed no ill health.

The director for psychiatric training at VAMC however informed

Dr. Green in December 2008 that the VAMC was unwilling for Dr.

Connors to continue her training there.       Green Note Jan. 2, 2009,

Mot. for Summ. J. Ex. S, ECF No. 122-20.

     At a meeting on January 28, 2009, Dr. Green gave Dr. Connors

a letter, advising her that, although she would be allowed to

finish her current rotation to enable her to enter a fourth year

of training elsewhere, she was dismissed from the program.             The

letter referenced her having successfully passed a four month

remediation period, but stated that she had two subsequent

periods of “irresponsible and unprofessional behavior” as

detailed in the November 2008 meeting and documented in her file.

Dr. Connors read the letter and confirmed with Dr. Green that he

was dismissing her from the program.      Connors Dep. 52:1-4, Nov.

3, 2010, ECF No. 57-11.    Dr. Connors’ last day in the program was

April 12, 2009.   Opp’n to Defs.’ Mot. for Summ. J. Ex. 1 at 5,


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ECF No. 64-2.

       At the January 28, 2009, meeting, Dr. Green provided Dr.

Connors with a copy of the Graduate Medical Education (“GME”)

Fair Hearing Policy.      According to the Policy, its purpose is to

set forth procedures to “assure due process to Residents who . .

. are recommended for non-renewal or dismissal from a program . .

. .”    GME Fair Hearing Policy at I, Feb. 3, 2012 Hearing, Pl.’s

Ex. 1.    Policy procedures include notification “in writing of the

documented deficiencies or allegations and of the recommendation

for non-renewal, dismissal or remedial training in a private

meeting with the Program Director or a duly appointed

representative,” at which the resident is provided with a copy of

the Policy.    GME Fair Hearing Policy at II.D.1.        If a resident

requests a Fair Hearing, a committee is formed, chaired by the

Director of Graduate Medical Education or a designee.            The

Committee conducts a hearing at which participants have an

opportunity to present oral and documentary evidence.            See id. at

III.A.1-14.    Following the hearing the Committee deliberates in

closed session and reaches a decision which is communicated in

writing to the resident and the Program Director.           Id. at

III.B.1-2.    If the Committee does not agree with the Program

Director’s recommendation for dismissal, the Program Director may

be asked to accept the resident back into the program for an

additional remedial period.       Id. at III.B.3.     The decision of the


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Committee is final.     Id. at III.B.4.

     Dr. Connors requested a Fair Hearing.        The Fair Hearing

Committee heard her case on June 1 and 16, 2009.         Dr. Connors

contended among other things that Dr. Green was intolerant of

ADHD stereotypes, that he had acted out of bias in his dealings

with her, and that his goal was to see her fail.         Feb. 3, 2012

Hearing Defs.’ Ex. Q.    In concluding that “that Dr. Green’s

decision not to renew Dr. Connors for her fourth year should

stand,” Defs.’ Ex. R at 4, the Committee rejected Dr. Connors’s

allegations of bias, noting that Dr. Green’s documentation of her

performance reflected both positive and negative evaluations, and

that Dr. Connors was given extra time for testing and time to

attend to her medical needs.     Id. at 3.    With respect to the lack

of an office at the VAMC, the Committee credited information from

the coordinator of resident training at the facility, who stated

that space at the VAMC is a problem, that she made sure that Dr.

Connors had access to an office, and that eventually Dr. Connors

was provided with her own office.      Id.

     Despite her dismissal from DHMC’s residency program, Dr.

Connors was permitted to complete the rotations she needed to be

eligible for a PGY-4 year elsewhere.      Defs.’ Mot. for Summ. J.

Ex. F, ECF No. 122-7.    In addition, Dr. Green supplied Dr.

Connors with a recommendation to another institution to complete

her residency training.    He found “her to be a bright, caring and


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dedicated physician with a strong work ethic,” “an eager

learner,” who “showed improvement in her time management skills”

and “responded appropriately to . . . feedback,” and “is

committed to providing her patients with excellent care.”              Pl.’s

Opp’n Memo Ex. 6, ECF No. 129-7.           Dr. Connors completed her

general psychiatry residency at another institution, received her

license to practice medicine and became a licensed psychiatrist

in the state of Vermont.        Connors Aff. ¶ 4, Pl.’s Opp’n Memo. Ex.

4, ECF No. 129-5; Vermont State Hospital Letter, Mar. 22, 2011,

Pl.’s Opp’n Memo. Ex. 8, ECF No. 129-9.

        Dr. Connors filed a complaint of discrimination with the

Equal Employment Opportunity Commission (“EEOC”) on December 7,

2009.    The EEOC issued a right-to-sue letter on March 9, 2010.

Dr. Connors filed suit in this Court on April 19, 2010, alleging

disability discrimination and illegal retaliation under the

Americans with Disabilities Act (“ADA”), breach of contract, and

breach of a covenant of good faith and fair dealing.             She amended

her complaint once on June 4, 2010, and again on January 28,

2011.    Following the dismissal of her ADA claims as untimely on

February 14, 2012, Dr. Connors commenced an action in the Windsor

Unit of the Vermont Superior Court against the same defendants

under the VFEPA.      The Defendants removed the suit to this Court,

and the two cases were consolidated on September 17, 2012.

     The Defendants seek summary judgment on Dr. Connors’s


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remaining claims:     disability discrimination under VFEPA (Count

I, docket no. 2:12-cv-51-wks), illegal retaliation under VFEPA

(Count II, docket no. 2:12-cv-51-wks), breach of contract (Count

III, docket nos. 2:12-cv-51-wks; 2:10-cv-94-wks) and breach of an

implied covenant of good faith and fair dealing (Count IV, docket

nos. 2:12-cv-51-wks, 2:10-cv-94-wks).

II.   Summary Judgment Standard

      Summary judgment is warranted “if the movant shows that

there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.”           Fed. R. Civ.

P. 56(a); see, e.g., Cronin v. Aetna Life Ins. Co., 46 F.3d 196,

202 (2d Cir. 1995).     “[I]n assessing the record to determine

whether there is a genuine issue as to any material fact, the

court is required to resolve all ambiguities and draw all factual

inferences in favor of the party against whom summary judgment is

sought.”   Id.    Those inferences “must be viewed in the light most

favorable to the party opposing the motion.”         Id.   “Summary

judgment is appropriate only ‘[w]here the record taken as a whole

could not lead a rational trier of fact to find for the non-

moving party.’”     Donnelly v. Greenburgh Cent. Sch. Dist. No. 7,

691 F.3d 134, 141 (2d Cir. 2012) (quoting Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)).

Courts must be cautious “about granting summary judgment to an

employer in a discrimination case where . . . the merits turn on


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a dispute as to the employer’s intent.”        Gorzynski v. JetBlue

Airways Corp., 596 F.3d 93, 101 (2d Cir. 2010).

III. Discussion

     A.   VFEPA Claims

     VFEPA makes it unlawful for any employer to discriminate

against a qualified disabled individual.        Vt. Stat. Ann. tit. 21,

§ 495(a)(1); see Colby v. Umbrella, Inc., 2008 VT 20, ¶ 9, 955

A.2d 1082, 1088.   It likewise forbids any employer from

discharging or discriminating against an employee because the

employee has lodged a complaint of discriminatory acts or

practices, or is about to lodge a complaint, or because the

employer believes that the employee may lodge a complaint.              §

495(a)(5).   The disability provisions of VFEPA are modeled on

Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794,

and federal case law provides guidance in construing them.              State

v. G.S. Blodgett Co., 656 A.2d 984, 988 (Vt. 1995).

     The Defendants argue that they are entitled to summary

judgment on the VFEPA claims on several grounds:         1) Dr. Connors

was not an employee of any defendant; 2) VFEPA does not apply to

a New Hampshire medical resident and a New Hampshire teaching

hospital; 3) a teaching hospital’s decision to terminate a

resident’s program is entitled to deference; 4) Dr. Connors was

not a qualified disabled individual, and thus cannot maintain a

claim; 5) Dr. Connors cannot show that the termination of her


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residency program was improperly motivated; and 6) any claims for

non-economic damages are time-barred.

             1.    Dr. Connors may sue DHMC and MHMH under VFEPA for
                   the conduct alleged in her complaint.

     At the outset, Defendants contend that a medical resident

cannot assert a VFEPA claim against them because they do not

employ medical residents.        An employment relationship exists for

VFEPA purposes if the alleged employee receives more than minimal

financial benefit from the alleged employer.           See Colby, 2008 VT

20, ¶ 9, 955 A.2d at 1088 (citing York v. Ass’n of Bar of City of

N.Y., 286 F.3d 122, 125-26 (2d Cir. 2002)).           Regardless of

whether Dr. Connors’s remuneration for her services was

characterized as a stipend or as wages, and regardless of whether

residents are considered students rather than employees in

certain contexts, a medical resident who receives more than

minimal compensation for her services while completing her

training falls within the definition of employee under VFEPA.

     It is undisputed that DHMC extended an offer to Dr. Connors

that included more than minimal remuneration, and that MHMH

entered into agreements with Dr. Connors that involved more than

minimal remuneration for her services.          Summary judgment on this

ground is therefore denied with respect to Defendants DHMC and

MHMH.    Dr. Connors has not offered any facts to support her claim

that Defendants Medical School, Clinic and Trustees had an

employer-employee relationship with Dr. Connors.            Summary

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judgment is therefore granted with respect to these defendants,

and Counts I and II are dismissed as against them.

     Defendants also argue that VFEPA does not apply to them

because they are New Hampshire entities running a New Hampshire

residency program at a New Hampshire teaching hospital.          VFEPA

prohibits unlawful employment practices.        See § 495(a).    Dr.

Connors’ SAC and her affidavit in opposition to DHMC’s motion for

summary judgment complain of discriminatory conditions occurring

at the VAMC, located in Vermont.        She also has complained of

discriminatory conduct on the part of Dr. Green and others that

affected her ability to work at the VAMC.        If an employee working

in Vermont has been subjected to unlawful employment practices,

or has suffered the effects of unlawful discrimination here, then

she may bring a claim under the statute.        There may be situations

where a Vermont nexus is so attenuated that the alleged

discriminatory practices are beyond VFEPA’s reach; that is not

the case before the Court.     The Defendants’ choice-of-law

analysis may be relevant to the determination of whether New

Hampshire law applies to Dr. Connors’ contract claims, but it has

no bearing on the determination of VFEPA’s scope.         Summary

judgment on this ground is therefore denied as well with respect

to Defendants DHMC and MHMH.

          2.    Academic institutions are not entitled to
                deference for discriminatory decisions.

     Defendants argue that Dr. Connors’ VFEPA claims should

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receive closer scrutiny because decisions of academic

institutions are entitled to deference.        Although courts accord

deference to the decisions of academic institutions about the

ethical and academic standards applicable to their students, see

Bhatt v. Univ. of Vt., 2008 VT 76, ¶ 15, 958 A.2d 637, 642, there

is no evidence that the dismissal of Dr. Connors from her

residency had anything to do with ethical lapses or academic

deficiencies.    To the contrary, Dr. Connors’s supervisors,

including Dr. Green, consistently extolled her academic ability.

Dr. Green considered the incidents that led to the November 2008

meeting and his January 2009 dismissal letter examples of

irresponsible and unprofessional behavior, not unethical

behavior.    More to the point, although a medical residency

program may have discretion to make decisions regarding the

renewal or termination of a resident’s training, its discretion

does not extend to engaging in discrimination, on the basis of

disability or any other protected class.        See Borkowski v. Valley

Cent. Sch. Dist., 63 F.3d 131, 135 (2d Cir. 1995).         Summary

judgment is therefore denied on this ground.

            3.   Dr. Connors’ claims of disability discrimination
                 and retaliation against DHMC and MHMH survive
                 summary judgment.

     Disability discrimination claims under VFEPA are subject to

the burden-shifting analysis established by the United States

Supreme Court in McDonnell Douglas Corp. v. Green, 411 U.S. 792


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(1973).   See Beckmann v. Edson Hill Manor, Inc., 764 A.2d 1220,

1222 (Vt. 2000) (entry order).        To establish a prima facie case

of discrimination disability a plaintiff must show that she is a

qualified disabled individual, she was discharged from her

employment or otherwise suffered an adverse employment action,

and the action occurred under circumstances giving rise to an

inference of discrimination.        Kennedy v. Dep’t of Pub. Safety,

719 A.2d 405, 406 (Vt. 1998).        The issue is not whether the

decision to terminate Dr. Connors’s residency was correct, but

whether the termination raised an inference of discrimination.

See id.

      The Defendants apparently do not dispute that Dr. Connors

has ADHD and that she is an individual with a disability under

the statute.3    They contend that Dr. Connors has failed to show

that she is a qualified disabled individual.           A qualified

disabled individual is “[a]n individual with a disability who is

capable of performing the essential functions of [her] job . . .

with reasonable accommodation to the disability.”            Vt. Stat. Ann.

tit. 21, § 495d(6).

      Determining whether Dr. Connors was capable of performing

the essential functions of her job with reasonable accommodation



      3
         VFEPA defines “individual with a disability” as “any natural person
who . . . has a physical or mental impairment which substantially limits one
or more major life activities; . . . has a history or record of such an
impairment; or . . . is regarded as having such an impairment.” Vt. Stat.
Ann. tit. 21, § 495d(5).

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to her disability requires “two distinct determinations:             what

constitutes the essential functions of the job and what

constitutes reasonable accommodation.”         Blodgett, 656 A.2d at

989.    “The essential functions of a job are those that are

legitimate and necessary to accomplish the goals of the

position.”    Id.

       Dr. Connors has proffered evidence that she was and is

capable of performing the essential functions of her residency.

Although DHMC proffered numerous comments from Dr. Green and

other supervisors expressing concern over Dr. Connors’s

performance and behavior at various times, the record also

reflects that at other times Dr. Green and other supervisors

commended her academic ability, her dedication, her commitment,

her hard work, and the improvement in her skills.           At times they

found that she was meeting the program’s clinical and

administrative expectations, and they looked forward to her

continued success.

       Dr. Connors has also proffered evidence that she requested

reasonable accommodation for her disability.          Specifically she

requested extended time for taking examinations; a quiet area in

which to prepare clinical notes and interview/treat patients; and

the ability to acquire medication and treatment for her

disability.     The Defendants do not argue that these

accommodations are unreasonable or constitute an undue hardship,


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and they assert that DHMC did in fact provide the accommodations

Dr. Connors requested.    (Dr. Connors disputes this, contending

that at times during her residency Defendants failed to

accommodate her condition; specifically for four months in early

2008 she had to use a common computer room, and in the winter of

2006-2007 her supervisor ordered her not to leave the VAMC

campus, with the result that she exhausted her medication supply

and did not obtain medical treatment.)

     At this summary judgment stage, Dr. Connors has satisfied

her initial burden of showing that she is a qualified disabled

individual, an individual with a disability who can perform the

essential functions of her job with reasonable accommodation.

There is no dispute that she suffered an adverse employment

action.   Viewing the facts in the light most favorable to Dr.

Connors, she has made a prima facie showing that the

circumstances of her dismissal give rise to an inference of

discrimination.   See, e.g., Robertson v. Mylan Labs., Inc., 2004

VT 15, ¶¶ 29, 30, 848 A.2d 310, 322 (emphasizing that at the

prima facie case stage a plaintiff’s burden is light).

     The Defendants have also proffered a legitimate non-

discriminatory reason for the dismissal:        numerous complaints of

not following the rules for appropriate supervision, resisting

her supervisors’ recommendations, being late to clinical

activities, untimely completion of clinical notes,


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disorganization, not sharing workload appropriately and

unprofessional behavior.      See Feb. 3, 2012 Hearing Defs.’ Ex. D,

F.   Having articulated such a reason, the burden shifts to Dr.

Connors to provide evidence that the proffered non-discriminatory

reason is a mere pretext for actual discrimination.           See, e.g.,

Robertson, 2004 VT 15, ¶ 27, 848 A.2d at 321.          Accordingly, to

survive summary judgment Dr. Connors must “demonstrat[e] that

there is an issue of material fact underlying the question of

whether the employer’s reason for its action was pretextual.”

Id. ¶ 34.

     The facts, taken in the light most favorable to Dr. Connors,

show that there is a triable issue as to whether a reasonable

jury could conclude that DHMC terminated her residency because of

her ADHD.   There is certainly ample evidence that Dr. Connors’s

supervisors had concerns with her performance in the program and

communicated them to her.      In early 2007, her supervisor at VAMC

gave her a list of concerns, see, e.g., Defs.’ Mot. for Summ. J.

Ex. N, ECF No. 122-15, and mounting incidents led to her being

placed on administrative leave.       After she returned to the VAMC,

she had episodes of problems in May 2008 and October/November

2008 that culminated in the director of psychiatric training

advising Dr. Green that she was unwilling for Dr. Connors to

continue training there.      See id. Ex. S, T, ECF No. 122-20, 21;

see also id. Ex. I, ECF No. 122-10.        Her supervisors observed


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disorganization, lack of focus, lateness and odd behavior and

reactions.    Dr. Green informed Dr. Connors of the VAMC

supervisors’ concerns in their meeting on November 20, 2008.

     There is also some evidence however that Dr. Connors’

difficulty in complying with her supervisors’ expectations

coincided with periods in which her ADHD symptoms were not well

managed.    See Connors Aff., Pl.’s Opp’n Memo. Ex. 4, ECF No. 129-

5.   At other times and in other settings Dr. Connors’s

performance was acknowledged to be satisfactory.          See, e.g.,

Feedback Email Oct. 8, 2007, Pl.’s Opp’n Memo. Ex. 20, ECF No.

129-21.    The parties dispute whether Defendants made reasonable

accommodations that could not consistently alleviate the

performance concerns or whether they merely made token

accommodation efforts and set her up for failure.          Whether

Defendants’ reasons for terminating her residency were a pretext

for discrimination on the basis of disability cannot be resolved

at summary judgment.

     Dr. Connors also claims that Defendants retaliated against

her for complaining about their failure to accommodate her

disability by terminating her residency.         “A prima facie case for

retaliatory discrimination requires [a] plaintiff to show that

(1) [she] was engaged in protected activity, (2) [her] employer

was aware of that activity, (3) [she] suffered adverse employment

decisions, and (4) there was a causal connection between the


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protected activity and the adverse employment action.”          Gallipo

v. City of Rutland, 656 A.2d 635, 642 (Vt. 1994); accord Mellin

v. Flood Brook Union Sch. Dist., 790 A.2d 408, 417-18 (Vt. 2001).

Dr. Connors has proffered evidence that she was engaged in

protected activity, specifically that she had complained about

DHMC’s failure to make reasonable accommodations for her

disability.   DHMC was aware of her complaints.        Dr. Connors

suffered an adverse employment action in the termination of her

residency.

     The Defendants argue that Dr. Connors cannot demonstrate a

causal connection between her complaints and the termination of

her residency.    A causal connection can be established

indirectly, for example by showing that the adverse employment

action closely followed the protected activity.         See, e.g.,

Bucalo v. Shelter Island Union Free Sch. Dist., 691 F.3d 119, 131

(2d Cir. 2012).    It may also be established directly, “through

evidence of retaliatory animus.”        DeCintio v. Westchester Cnty.

Med. Ctr., 821 F.2d 111, 115 (2d Cir. 1987).        For purposes of a

prima facie case, Dr. Connors has offered at least minimal

evidence of a causal connection in Dr. Green’s stated desire to

end Dr. Connors’s residency and his hostility toward her claim of

disability.

     If a plaintiff establishes a prima facie case of retaliation

defendants must proffer a legitimate, nondiscriminatory reason


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for their actions.    Mellin, 790 A.2d at 211.      The plaintiff then

must prove by a preponderance of the evidence that the employer’s

reasons for its actions are a pretext for discrimination.           Id.

As in Dr. Connors’s disability discrimination claim, whether

DHMC’s reasons for terminating her residency were a pretext for

retaliating against her for her complaints of failure to

accommodate her disability cannot be resolved at summary

judgment.

            4.   Dr. Connors’ claims for noneconomic damages under
                 VFEPA are time-barred.

     The Defendants argue that Dr. Connors’ VFEPA claims for

“emotional pain and suffering, mental anguish, humiliation,

embarrassment, person indignity and other intangible injuries”

must be dismissed as time-barred.       This Court has previously

ruled that Dr. Connors’s cause of action accrued at the latest on

January 28, 2009, the date on which she received her letter from

Dr. Green notifying her that she was being dismissed from the

residency program.    Findings & Conclusions 17, ECF No. 105.

Vermont’s three-year statute of limitations, Vt. Stat. Ann. tit.

12, § 512(4), applies to VFEPA claims for emotional distress and

the like.    Egri v. U.S. Airways, Inc., 804 A.2d 766, 766 (Vt.

2002) (entry order); see also Fitzgerald v. Congleton, 583 A.2d

595, 599-600 (Vt. 1990) (holding that claims for damages

resulting from mental anguish, emotional distress, and personal

humiliation are injuries to the person within the meaning of

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section 512(4)); accord Gettis v. Green Mt. Econ. Dev. Corp.,

2005 VT 117, ¶ 21, 892 A.2d 162, 168.

     Dr. Connors filed her VFEPA claims in state court on March

7, 2012, more than three years after her cause of action accrued.

Nevertheless, she argues that her claims for noneconomic damages

under VFEPA are timely because she filed an amended complaint of

disability discrimination and illegal retaliation on May 12, 2010

in docket no. 2:10-cv-94 in this Court, within the applicable

three-year limit.    The argument suffers from two fatal

deficiencies.

     One, Dr. Connors asserted claims in docket no. 2:10-cv-94

under the ADA, not VFEPA.     VFEPA is not mentioned in either Count

I, entitled “Disability Discrimination (Americans with

Disabilities Act)”, or in Count II, entitled “Illegal

Retaliation,” or in any other portion of her amended complaint.

Apparently, Dr. Connors deems that her failure to specify the ADA

in Count II’s claim of illegal retaliation can be construed as an

assertion of a claim of illegal retaliation under VFEPA.

However, she incorporated the allegations contained in Count I

into Count II, which clearly states her claim that the

defendants’ adverse employment actions violated the ADA.           Am.

Compl. ¶ 34.    There is no conceivable basis for an assertion that

the amended complaint filed on May 12, 2010 stated any claims

under VFEPA.


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      Two, this Court entered judgment for Defendants in docket

no. 2:10-cv-94 on Counts I and II on February 14, 2012 for

failure to timely file these discrimination claims with the EEOC

before filing them in federal court.          Dr. Connors has not shown

how these terminated claims remain alive for purposes of

relieving her from the necessity of filing VFEPA claims for

noneconomic damages within three years of their accrual.

      Dr. Connors’s claims for noneconomic damages under the VFEPA

are therefore dismissed as time-barred.

      B.    Claims for Breach of Contract and Breach of an Implied
            Covenant of Good Faith and Fair Dealing4

      In Count Three of her complaints Dr. Connors asserts breach

of an express or implied contract.          Dr. Connors’ last

Resident/Fellow Agreement of Appointment was in effect from

January 7, 2008 through January 6, 2009.          The Agreement provided

that “[r]eappointment will be dependent upon satisfactory

evaluations and fulfillment of program and institutional

requirements.”     Feb. 13, 2012 Hearing, Defs.’ Ex. C.         MHMH agreed

to provide, among other things, “[a]n accredited educational

program that provides for the educational needs of the

resident/fellow,” “[a]ppropriate, readily available supervision,”

and “counseling services.”       Id.    MHMH also agreed to “use its



     4
         The Defendants have assumed, for purposes of their motion for
summary judgment on the common law claims, that applying either New Hampshire
or Vermont law would produce the same outcome.

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best efforts” to provide written notice of nonrenewal of the

agreement no less than one hundred twenty days prior to the

expiration of the agreement, unless the reason or reasons for

nonrenewal occurred within that time period.        Id.

          1.    Defendants Medical School, Clinic and Trustees are
                entitled to summary judgment on the contract
                claims.

     Defendants Medical School, Clinic and Trustees seek summary

judgment on the contract claims on the ground that they were not

parties to any contract with Dr. Connors.        Dr. Connors asserts

that these entities are “partners in ‘Dartmouth-Hitchcock’” that

the Clinic and the Medical School “are branches of MHMH and/or

DHMC,” and that they “act[] in partnership with MHMH and DHMC.”

In support of these assertions, she relies on undated,

unauthenticated screen shots from a web page with the title

“Dartmouth-Hitchcock” that advertises a collaborative

relationship among DHMC, MHMH, the Clinic, and the Medical

School, among other entities.      Apart from whether this document

could constitute admissible evidence, see Fed. R. Civ. P.

56(c)(2), it does not establish that the Medical School, the

Clinic or the Trustees of Dartmouth College were parties to any

contract between Dr. Connors and DHMC and/or MHMH.         In addition,

Dr. Connors offers a copy of her business card, which references

the Medical School as well as DHMC.       From these documents, Dr.

Connors argues that each institution acted as agent of the other


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institutions in operating the residency program, and that as

agents their actions may be attributable to DHMC and/or MHMH.

      Assuming that these entities enjoy a collaborative

relationship, and collectively make up an entity that holds

itself out as “Dartmouth-Hitchcock,” Dr. Connors has offered no

facts or law to support her agency theory in a breach of contract

claim.     She has offered no evidence that the Medical School, the

Clinic or the Trustees made any promises or agreed to enter into

any contracts with her.       See, e.g., Specht v. Netscape Comm’ns

Corp., 306 F.3d 17, 28 (2d Cir. 2002) (“A transaction, in order

to be a contract, requires a manifestation of agreement between

the parties.”) (citing Restatement (Second) of Contracts §

19(2)).    Dr. Connors has likewise offered no reason to depart

from the general principle of contract law that only a party to a

contract may be sued for breach of that contract.            See, e.g.,

Crabtree v. Tristar Auto. Grp., Inc., 776 F. Supp. 155, 166

(S.D.N.Y. 1991) (“It is hornbook law that a non-signatory to a

contract cannot be named as a defendant in a breach of contract

action unless it has thereafter assumed or been assigned the

contract.”).    Accordingly, Defendants Medical School, Clinic, and

Trustees are entitled to summary judgment on the contract

claims.5


     5
         Because “[a] cause of action for breach of the covenant of good
faith can arise only upon a showing that there is an underlying contractual
relationship between the parties,” Monahan v. GMAC Mortg. Corp., 2005 VT 110,

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            2.    Certain of Dr. Connors’ claims of breach of
                  express or implied agreements survive summary
                  judgment.

      Dr. Connors argues both that the Defendants breached their

promises to provide adequate educational and training experiences

and appropriate supervision and counseling, and that their

dismissal of her from the program lacked just cause.            The

Agreement of Appointment expressly provided that it was for a

one-year term, and that reappointment would be “dependent upon

satisfactory evaluations and fulfillment of program and

institutional requirements.”        Feb. 13, 2012 Hearing Defs.’ Ex. C.

The provisions of the GME Red Book’s Fair Hearing Policy were

incorporated into a resident’s contract.          See id.    The Fair

Hearing Policy provided a process by which an aggrieved resident

could contest a decision not to renew her appointment, and

provided that the decision of the Fair Hearing Committee would be

final.   GME Fair Hearing Policy at III.B.4, Feb. 3, 2012 Hearing,

Pl.’s Ex. 1.     Dr. Connors availed herself of this process, and

the Fair Hearing Committee determined that the decision not to

renew her appointment should stand.

      In support of her claim that a jury should determine whether

just cause existed for the nonrenewal of her appointment, Dr.

Connors cites perfunctorily to an employment-at-will case in



¶ 54 n.5, 893 A.2d 298, 316, Count Four is dismissed against these Defendants
as well.

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which this Court denied an employer’s motion for summary judgment

on a former employee’s wrongful termination claim, and concluded

that whether just cause existed for firing the employee must be

submitted to a jury.    See Gile v. J.C. Penney Corp., No. 5:09-cv-

115-cr, slip op at 18 (D. Vt. May 28, 2010), ECF No. 68.           Unlike

the situation in Gile, in which an employment-at-will

relationship had been arguably modified to preclude discharge

except for just cause, Dr. Connors’ employment was governed by

successive one-year contracts, each of which included provisions

for the parties not to offer or seek renewal of the contract.

Dr. Connors has offered no evidence that the Defendants were

obligated to renew her appointment absent just cause for

nonrenewal; accordingly this portion of her contract claims is

dismissed.

     Dr. Connors has also asserted implied contract claims

alleging that Defendants breached promises of job security,

adequate educational and training experience, appropriate

supervision and counseling, reasonable accommodations to her

disability and a work environment conducive to performing as a

resident physician.    The Defendants characterize these claims as

disability discrimination claims in disguise, which do not give

rise to a contractual obligation, but the allegations reach

beyond a failure to accommodate her disability.         Whether DHMC and

MHMH intended to bind themselves to the terms of an implied


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employment contract as Dr. Connors alleges—and what the terms of

such a contract are—cannot be resolved at summary judgment;

accordingly, this portion of Count Three of Dr. Connors’

complaints will not be dismissed.

                  3.    Dr. Connors may have an opportunity to
                        distinguish the conduct alleged in her breach
                        of contract claims and her breach of an
                        implied covenant claims.

       In a footnote, Defendants suggest that Count Four, alleging

breach of an implied covenant of good faith and fair dealing,

must be dismissed because it does not identify any conduct

distinct from her breach of contract claim, citing footnote 5 of

Monahan v. GMAC Mortgage Corp., 2005 VT 110, ¶ 54, 893 A.2d at

316.    Dr. Connors responds that her complaint includes assertions

that are not contained in her breach of contract

claim—specifically that Defendants made various false accusations

concerning her conduct—but she has not provided the Court with

any citations to her complaints in support of that argument.

Count Four does not specifically allege that Defendants made

false accusations against her.        Count Two of the complaint in

docket no. 2:12-cv-51-wks, asserting illegal retaliation, alleges

generally that Defendants falsely accused her of misconduct and

incompetence.6     Compl. ¶ 38, No. 2:12-cv-51-wks, ECF No. 4.            This


      6
         Paragraph 38 of the Complaint states: “Defendants accused plaintiff
of misconduct and incompetence based on events that did not occur as defendant
portrayed them. Defendants[sic] accusations against plaintiff were false.”
Compl. ¶ 38, No. 2:12-cv-51-wks, ECF No. 4.

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allegation, however, was incorporated into Count Three, for

breach of contract, as well as Count Four.

     To withstand summary judgment a party must support her

argument by citing to particular parts of the record, see Fed. R.

Civ. P. 56(c)(1)(A), and failure to do so may warrant considering

the matter undisputed and/or granting summary judgment.          See Fed.

R. Civ. P. 56(e)(2),(3); see also Davis v. New York, 316 F.3d 93,

100 (2d Cir. 2002) (“[R]eliance upon conclusory statements or

mere allegations is not sufficient to defeat a summary judgment

motion.”).   It appears that the conduct upon which Dr. Connors

relies for her breach of the covenant of good faith claims has

not been distinguished from the conduct upon which she relies for

her breach of contract claims.      It may be possible to do so.

Accordingly, the Court affords Dr. Connors the opportunity to

support her contention that the remaining portions of her breach

of contract claims allege conduct that is distinct from the

conduct alleged in her breach of an implied covenant of good

faith and fair dealing claims.      Failure to support or address the

issue within thirty days will result in entry of summary judgment

for Defendants on Count Four.

                               Conclusion

     The Defendants’ motion for summary judgment is granted in

part and denied in part.     Defendants Dartmouth Medical School,

Dartmouth-Hitchcock Clinic and Trustees of Dartmouth College are


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dismissed from the case.     The claims for noneconomic damages

under VFEPA are dismissed.     Summary judgment is denied on the

VFEPA discrimination and illegal retaliation claims.          Summary

judgment is granted in part and denied in part on the breach of

contract claims, and Dr. Connors may have an opportunity to

supplement her opposition to summary judgment on the breach of an

implied covenant claims within thirty days.

     Dated at Burlington, in the District of Vermont, this 11th

day of July, 2013.

                                  /s/William K. Sessions III
                                  William K. Sessions III
                                  U.S. District Court Judge




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